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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)        BROWN RUDNICK LLP
                                                         David J. Molton, Esq.
  GENOVA BURNS LLC                                       Robert J. Stark, Esq.
  Daniel M. Stolz, Esq.                                  Michael S. Winograd, Esq.
  Donald W. Clarke, Esq.                                 Eric R. Goodman, Esq.
  dstolz@genovaburns.com                                 dmolton@brownrudnick.com
  dclarke@genovaburns.com                                rstark@brownrudnick.com
  110 Allen Road, Suite 304                              mwinograd@brownrudnick.com
  Basking Ridge, NJ 07920                                egoodman@brownrudnick.com
  Tel: (973) 467-2700                                    Seven Times Square
  Fax: (973) 467-8126                                    New York, NY 10036
                                                         Tel: (212) 209-4800
  Local Counsel to the Ad Hoc Committee                  Fax: (212) 209-4801
  of Certain Talc Claimants
                                                         and

                                                         Jeffrey L. Jonas, Esq.
                                                         Sunni P. Beville, Esq.
                                                         jjonas@brownrudnick.com
                                                         sbeville@brownrudnick.com
                                                         One Financial Center
                                                         Boston, MA 02111
                                                         Tel: (617) 856-8200
                                                         Fax: (617) 856-8201

                                                         Co-Counsel for the Ad Hoc Committee
                                                         of Certain Talc Claimants

  MASSEY & GAIL LLP                                      OTTERBOURG PC
  Jonathan S. Massey, Esq.                               Melanie L. Cyganowski, Esq.
  Rachel S. Morse, Esq.                                  Adam C. Silverstein, Esq.
  jmassey@masseygail.com                                 Jennifer S. Feeney, Esq.
  rmorse@masseygail.com                                  mcyganowski@otterbourg.com
  1000 Maine Ave. SW, Suite 450                          asilverstein@otterbourg.com
  Washington, DC 20024                                   jfeeney@otterbourg.com
  Tel: (202) 652-4511                                    230 Park Avenue
  Fax: (312) 379-0467                                    New York, NY 10169
                                                         Tel: (212) 905-3628
  Special Counsel for the Ad Hoc Committee               Fax: (212) 682-6104
  of Certain Talc Claimants
                                                         Co-Counsel for the Ad Hoc Committee
                                                         of Certain Talc Claimants
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     In Re:                                                     Chapter 11

     LTL MANAGEMENT, LLC,1                                      Case No.: 23-12825 (MBK)

                               Debtor.                          Honorable Michael B. Kaplan


                   OMNIBUS OBJECTION TO THE DEBTOR’S FIRST DAY RELIEF

              The Ad Hoc Committee of Certain Talc Claimants (the “AHC”) in the above captioned

 case, by and through its undersigned counsel, hereby respectfully submits this omnibus objection

 (the “Objection”) to the first day relief requested by LTL Management, LLC (the “Debtor” or

 “LTL”) and respectfully states as follows:

                                                 BACKGROUND

              1.       The AHC incorporates by reference its Informational Brief of the Ad Hoc

 Committee of Certain Talc Claimants Regarding Second Bankruptcy Filing by LTL Management,

 LLC (the “AHC Informational Brief”) filed contemporaneously herewith.

                                                   OBJECTION

              2.       As set forth in the AHC Informational Brief, this bankruptcy case is fraudulent, the

 petition was filed in bad faith, and the Court lacks jurisdiction and should not exercise jurisdiction

 over the case or any matters at this time. As such, the AHC objects to the relief requested in the

 following:

                   •   Debtor’s Motion for an Order Suspending Entry and Service of Standard Notice of
                       Commencement [Docket No. 5];
                   •   Debtor’s Motion for an Order: (I) Authorizing it to File a List of the Top Law Firms
                       with Talc Claims Against the Debtor in Lieu of the List of the 20 Largest Unsecured
                       Creditors; (II) Approving Certain Notice Procedures for Talc Claimants; and (III)



 1     The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
       Street, New Brunswick, New Jersey 08933.



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                 Approving the Form and Manner of Notice of Commencement of This Case [Docket
                 No. 10];
             •   Debtor’s Application Pursuant to 28 U.S.C. § 156(C) and 11 U.S.C. § 105(A) for
                 Entry of an Order Authorizing the Appointment of Epiq Corporate Restructuring,
                 LLC as Claims and Noticing Agent Nunc Pro Tunc to the Petition Date [Docket
                 No. 11];
             •   Debtor’s Motion Pursuant to 11 U.S.C. § 1505 for an Order Authorizing it to Act
                 as Foreign Representative on Behalf of the Debtor’s Estate [Docket No. 12];
             •   Debtor’s Motion for an Order: (I) Approving the Continued Use of its Bank
                 Account and Business Forms; and (II) Authorizing the Debtor’s Bank to Charge
                 Certain Fees and Other Amounts [Docket No. 13]; and
             •   Debtor’s Motion for an Order Extending the Time Within Which it Must File its (I)
                 Schedules of Assets and Liabilities and (II) Statement of Financial Affairs [Docket
                 No. 14] (collectively, the “First Day Motions”)

        The AHC respectfully requests that the Court deny all of the relief requested in the First

 Day Motions and

                                  RESERVATION OF RIGHTS

        3.       The Committee reserves all rights to amend or supplement this Objection.

                                          CONCLUSION

        WHEREFORE, for foregoing reasons, the AHC respectfully requests that the Court

 (i) deny the relief requested in the First Day Motions; (ii) and grant such other and further relief

 as is just and proper.

                            [Remainder of page intentionally left blank.]




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                                      Respectfully submitted,

                                      GENOVA BURNS, LLC



                                      By:    Daniel M. Stolz
                                      Daniel M. Stolz, Esq.
                                      Donald W. Clarke, Esq.
                                      110 Allen Road, Suite 304
                                      Basking Ridge, NJ 07920
                                      Telephone: (973) 533-0777
                                      Facsimile: (973) 467-8126
                                      Email: dstolz@genovaburns.com
                                      Email: dclarke@genovaburns.com

                                      Local Counsel to the Ad Hoc Committee
                                      of Certain Talc Claimants
